                      Case 1:21-cv-03369-WMR Document 4 Filed 09/01/21 Page 1 of 2                                            jj\^
  AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)                                                             ^iW'SOWCE
                                                                                                                         •",'^ n7< . Atlanta


      Civil Action No.

                                                             PROOF OF SERVICE
                       (This section should not be filed wtth the court unless required by Fed. R. Ch
                                                                        c^(rrv
              This Summons for (name of individual and title, if any) __A^ R-

      was received by me on (date)


                          )nally served the summons on the individual at 6?&c^ ^^.*5- /^'^.lef^ l^fdcy. pL^e/
CJ^
             <?&x^e ^ po.^^^e.c^j^^ ^^s^-1 on ^te^ ^?-^5-^^ 'or
              0 I left the summons at the individual's residence or usual place of abode with (wane)

                                                                   , a person of suitable age and discretion who resides there,

              On (date)                               , and mailed a copy to the individual's last known address; or \,,,,
                                                                                                                                         'f    6te^
                                                                                         ^^-Aff^A $-'<,?'"'
                 I served the summons on (name of individual) ^ ^ 'pg^^ LiAlf^. ^TisWf^futsW 'who is
              designated by law to accept service of process on behalf of (name of organization)                 /?,A^ f^^hi^f
                 LLd. _ on (date) /S^--^- ^D.U 'or
              0 I returned the summons unexecuted because                                                                             ; or


              0 Other (specify):




              My fees are $ £^>/'-^ for travel and $ -/<c=> — forsendces,foratotalof$ ^Q, 00



              I declare under penalty of perjury that tihis uiformajaon is true.



      Date: D ^-1-^-30^                                                        AM^-
                                                                                            S^rv^r's signature


                                                                      J>\\ ,\ /^C C'fT^ '^^ e^


                                                                     ^ -9J^? I -57 nr\rfl6j5

                                                                     ^^S ^^ ^6>^g
                                                                      •^-Ig?- -c]$ (, I Server's aAfr-aa?


      Additional uiformation regarding attempted service, etc:
                 Case 1:21-cv-03369-WMR Document 4 Filed 09/01/21 Page 2 of 2

AO 440 (Rev..0|6/12) Sunnnons m a Civil Action



                                       UNITED STATES DISTRICT COURT
                                                           for the




                                                              )

       ve/fU^ ^T^om^> _ )
                             Plaintiff(s)
                                 v ) CivUActionNo. ^2 l-CV- 3 3
                 QQhr&^ ^•a^'^ S^c- I
             ^^s%^y^uf^y^
                  UK-<A<^(V^.;
                               7)
  ^^k^A^^«^G^-'^e^'^ )'
                            Defendant(s) )


                                                 SUMMONS IN A<TSTL ACTION

TO: (Defendant's'sname
                   name and address)


           "RuW^ V^^u^Ux^, 1>y^^(^^^^^^^^r^^
              3H5' hv^^ yi^c^Uc^
             ^.-.^ ^0
          "^CW^ Cc^^ Q^- 3061-1
          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of Ac United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plamticff s attorney,
whose name and address are:

                          K^^TT^O:^^
                           ($0. ^>6^ cffc0^2-
                           ^Y^fck^ ^ 5^^^
          If you fail to respond, judgment by default will be entered against you for the relief demanded m the complaint.
You also must file your answer or motion with the court.




Date: AUG 18 2021
                                                                             ~ ;:> SigiSwe~<^Clerk~6T^£^ty'Clerk
